      Case: 1:17-cv-07126 Document #: 1 Filed: 10/03/17 Page 1 of 7 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SUNSET CARTAGE, INC.,                     )
an Illinois Corporation,                  )
                           Plaintiff,     )
     v.                                   )                     Case No. 17 CV 7126
                                          )
MICHAEL T. HAFFNER, AS TRUSTEE AND        )
CHAIRMAN OF THE CHAUFFEURS, TEAMSTERS     )
AND HELPERS LOCAL UNION NO. 301 HEALTH    )
AND WELFARE FUND; MICHAEL T. HAFFNER AS )
TRUSTEE AND CHAIRMAN OF THE CHAUFFEURS, )
TEAMSTERS AND HELPERS LOCAL UNION NO. 301 )
PENSION FUND; AND CHAUFFEURS, TEAMSTERS )
AND HELPERS LOCAL UNION NO. 301,          )
                                          )
                           Defendants.    )


                COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

       NOW COMES the Plaintiff, SUNSET CARTAGE, INC. (“Sunset”), and for its

Complaint For Injunctive and Other Relief against MICHAEL T. HAFFNER, AS TRUSTEE

AND CHAIRMAN OF THE CHAUFFEURS, TEAMSTERS AND HELPERS LOCAL UNION

NO. 301 HEALTH AND WELFARE FUND (AWelfare Fund@); MICHAEL T. HAFFNER AS

TRUSTEE AND CHAIRMAN OF THE CHAUFFEURS, TEAMSTERS AND HELPERS

LOCAL UNION NO. 301 PENSION FUND (APension Fund@) and CHAUFFEURS,

TEAMSTERS AND HELPERS UNION NO. 301, states as follows:

                                  JURISDICTION AND VENUE

       1.     Subject matter jurisdiction over this action arises under the laws of the United

States and is brought pursuant 28 U.S.C. 1331 because Sunset=s claim arises under the federal

common law of the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C.

                                              1
       Case: 1:17-cv-07126 Document #: 1 Filed: 10/03/17 Page 2 of 7 PageID #:2



'1001et seq. (hereinafter referred to as AERISA@) and under Section 301 of the Taft-Hartley Act,

29 U.S.C.§185. Jurisdiction is based upon the existence of questions arising thereunder as

hereinafter more fully appears.

       2.      Jurisdiction to issue the remedy sought herein is also provided in the Declaratory

Judgment Act, 28 U.S.C. ' 2201, et seq.

       3.      Venue in this Court is proper under 28 U.S.C. '1391(b)(1)(2) because the

Defendants reside in this District and a substantial part of the events or omissions giving rise to

the claims occurred in this District.

                                              FACTS

       4.       Sunset is an Illinois Corporation conducting business within this judicial district.

Sunset is an Aemployer@ as defined under Section 3(5) of ERISA, 29 U.S.C. ' 1002(5).

       5.      The Chauffeurs, Teamsters & Helpers Local Union No. 301 (AUnion@) is a

labor organization within the meaning of Section 3(4) of ERISA, 29 U.S.C. ' 1002(4).

       6.      Sunset and the Union have been parties to a collective bargaining agreement since

at least May 1, 1995 through April 30, 2000 (ACBA@).

       7.      The collective bargaining relationship between Sunset and the Union is governed

by Section 9(a) of the National Labor Relations Act, 29 U.S.C. '159 (a).

       8.      The CBA contains an automatic renewal provision which provides:

               This Agreement shall become effective as of the First day of May, 1995, and shall
               remain in full force and effect through April 30, 2000. This agreement shall
               automatically renew itself year to year thereafter unless the Union or the
               Employer notifies the other in writing no less than sixty (60) days prior to the
               expiration date.

       9.      The CBA has automatically renewed from April 30, 2000 – present.


                                                 2
       Case: 1:17-cv-07126 Document #: 1 Filed: 10/03/17 Page 3 of 7 PageID #:3



        10.     Neither the Union nor Sunset provided written termination of the CBA no less

than sixty (60) days prior to April 30, 2017. Thus, the CBA has been annually renewed and is

currently in effect.

        11.     The Pension and Welfare Funds are multi-employer employee benefit plans

within the meaning of Section 3(3) and (37) of ERISA, 29 U.S.C. '1002(3) and ((37), and

maintain their principal places of operation in Waukegan, Illinois.

        12.     Michael T. Haffner ("Haffner@) is a Chairman and trustee of the Welfare

Fund and the Pension Fund and, as such, is a fiduciary within the meaning of Section 3(21) of

ERISA, 29 U.S.C. '1002(21).

        13.     Pursuant to the CBA, Sunset is required to submit reports and contributions to the

Welfare and Pension Funds for its covered employees' welfare and retirement benefits

respectively on a monthly basis for each regular employee covered by the CBA and payments for

employees who authorized deductions from their paycheck to a reserve for the Welfare Fund.

        14.     In turn, the Pension Fund is required to provide credit to Sunset's covered

employees for said employees' retirement and the Welfare Fund is also required to provide credit

for said employees' medical, prescription drug, dental, vision, weekly income, life insurance and

accidental death and Dismemberment Insurance.

        15.     The Welfare and Pension Funds have accepted reports and contributions from

Sunset for work performed by Sunset=s covered employees through June 30, 2017.

        16.     Sunset submitted its reports and contributions for work performed by its covered

employees during the months of July through August 2017 but they were returned to Sunset by

the Welfare and Pension Funds.



                                                3
      Case: 1:17-cv-07126 Document #: 1 Filed: 10/03/17 Page 4 of 7 PageID #:4



       17.     The Pension and Welfare Funds claim that they cannot accept the reports and

contributions from Sunset and are not required to credit Sunset's covered employees for the

payments based upon the reports and contributions that were submitted by Sunset including

payments for employees who authorized deductions from their pay to a reserve for the Welfare

Fund. .

       18.     Sunset claims that the Pension and Welfare Funds are required to accept the

reports and contributions and that the Pension and Welfare Funds are also required to provide

credit to Sunset’s covered employees for the work they performed for July 1, 2017 – present

based upon the reports and contributions that were submitted by Sunset including payments for

employees who authorized deductions from their pay to a reserve for the Welfare Fund.

       19.     As a result of the Pension and Welfare Funds’ refusal to accept Sunset’s reports

and contributions, covered employees of Sunset have not received credit toward health insurance

or toward their pension for work they performed from July 1, 2017 – present. In addition,

employees who authorized deductions from their pay to a reserve for the Welfare Fund have not

received credit for these payments.

       20.     As a result of the Pension and Welfare Funds’ refusal to accept Sunset’s reports

and contributions, the Welfare Fund has refused to provide coverage for health insurance for

Sunset’s covered employees pursuant to the CBA and has refused to credit employees who

authorized deductions from their pay to a reserve for the Welfare Fund.

       21.     The persons listed on the contributions reports submitted by Sunset are covered

employees for whom the Pension and Welfare Funds are required to accept contributions and

provide credit included credit for a reserve fund as reported by Sunset.



                                                 4
      Case: 1:17-cv-07126 Document #: 1 Filed: 10/03/17 Page 5 of 7 PageID #:5



       22.     As a result of the Welfare Fund’s refusal to provide credit for work performed by

Sunset’s covered employees, the Welfare Fund abruptly terminated health insurance coverage for

Sunset's covered employees without any advance notice to Sunset's covered employees.

       23.    The Welfare Fund's refusal to accept Sunset's reports and contributions to provide

credit to Sunset's covered employees is unlawful and contrary to the CBA. As a result of the

Welfare Fund's unlawful conduct, 1 or more covered employees do not have health insurance.

       24.    In addition, some covered employees were told by the Welfare Fund that they

could only obtain health insurance coverage if they "self pay" but the Welfare Fund reserved the

right to terminate self pay when deemed appropriate. As a result, some covered employees self

paid the Welfare Fund under duress. Sunset reimbursed these employees in order to mitigate

damages and to prevent employees from leaving Sunset's employ.

       25.    One of Sunset's employees, Lisa Stemmen, began working for Sunset Cartage,

Inc. on or about July 31, 2017. Approximately 2 years ago Lisa Stemmen was diagnosed with

and underwent intensive surgery and treatment for cancer. Ms. Stemmen is required to visit her

doctor and undergo tests every 6 months to determine whether the cancer has returned. Her next

check up is in the middle of December, 2017.

       26.    Ms. Stemmen also has a problem with her thyroid which requires her to take

medication every day and go to the doctor on a regular basis to determine if any adjustments

should be made in her medication. Ms. Stemmen is set to visit her doctor for a check up on her

thyroid in the middle of October 2017.

       27.    The Teamsters Local Union No. 301 Health And Welfare Fund has refused to

accept contributions on Ms. Stemmen's behalf for the time she has been working for Sunset

Cartage, Inc. since approximately July 31, 2017. As a result, Ms. Stemmen currently does not

                                               5
       Case: 1:17-cv-07126 Document #: 1 Filed: 10/03/17 Page 6 of 7 PageID #:6



have health insurance but needs it to cover her doctor=s visits and medical costs. The lack of

health insurance will also devastate and cause her irreparable harm if her cancer returns because

she does not have the means to pay for the medical costs associated with diagnosing and treating

cancer.

          28.   Ms. Stemmen will also be penalized by the federal government because she does

not have insurance.

          29.   Another one of Sunset's covered employee's wife was required to travel to Mexico

for medicine because she could not afford to pay the cost for it in the United States.

          30.   The Union also claims that there is no collective bargaining relationship between

Sunset and the Union.

          31.   An actual and justiciable controversy exists between Plaintiff and Defendants

which is ripe for judicial review.

          WHEREFORE, Plaintiff prays that this Honorable Court:

          A.    An Order, temporarily and permanently, enjoining and restraining the Pension and

Welfare Funds and their trustees, administrators, agents, officers, representatives, employees and

servants and all those acting in concert with them and their behalf or by their direction from

refusing to accept fringe benefit reports, contributions and reserve payments from Plaintiff;

          B.    An Order, temporarily and permanently, enjoining and restraining the Pension and

Welfare Funds and their trustees, administrators, agents, officers, representatives, employees and

servants and all those acting in concert with them and their behalf or by their direction from

refusing to credit Plaintiff’s covered employees for work performed by them based upon fringe

benefit reports, contributions and reserve payments submitted by Plaintiff;

          C.    Declare that the Pension and Welfare Funds are required to accept fringe benefit

                                                 6
       Case: 1:17-cv-07126 Document #: 1 Filed: 10/03/17 Page 7 of 7 PageID #:7



reports, contributions and payments to employees’ reserve fund from Plaintiff;

        D.     Declare that the Pension and Welfare Funds, including the reserve fund of the

Welfare Fund, are required to credit Plaintiff’s covered employees for work performed by them

based upon fringe benefit reports and contributions submitted by Plaintiff;

        E.     Declare that a collective bargaining relationship exists between the Union and

Plaintiff;

        F.     Order Defendants to compensate Plaintiff for all damages incurred by it;

        G.     Award Plaintiff its attorneys fees and costs;

        G.     Award Plaintiff such other relief deemed just and equitable.

                                             Respectfully submitted,

                                             SUNSET CARTAGE, INC.


                                             By:     /s/Joseph P. Berglund
                                                       Its Attorney


Attorney For Sunset Cartage, Inc.
Joseph P. Berglund
Law Offices Of Joseph P. Berglund, P..C.
1010 Jorie Boulevard, Suite 370
Oak Brook, Illinois 60523
(630) 990-0234
Email: Berglundmastny@aol.com




                                                 7
